        Case 6:22-cv-01274-EFM Document 183 Filed 02/20/24 Page 1 of 22




                               UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS

  MIGUEL COCA, et al.,

                 Plaintiffs,

          v.                                             Case No. 6:22-cv-01274-EFM-RES

  CITY OF DODGE CITY, et al.,

                 Defendants.



                                  PLAINTIFFS’ TRIAL BRIEF

        Plaintiffs Miguel Coca and Alejandro Rangel-Lopez, by and through their undersigned

counsel, hereby submit the following Trial Brief outlining their legal claims, pertinent authority,

and anticipated evidence in support.

                                        BACKGROUND

        Plaintiffs are two Latino citizens of Dodge City, Kansas, who filed this lawsuit under

Section 2 of the Voting Rights Act (“VRA”), 52 U.S.C. §10301, and 42 U.S.C. § 1983. Plaintiffs

allege that the at-large voting scheme for the Dodge City Commission violates their rights under

the VRA and the Fourteenth Amendment to the United States Constitution. On December 12,

2023, this Court denied Defendants’ Motion for Summary Judgment, Doc. # 159, allowing the

case to proceed to trial on both claims. Trial will begin on February 26, 2024.

                               ARGUMENT AND AUTHORITIES

   I.      Section 2 of the Voting Rights Act

        Plaintiffs’ first claim alleges that the Dodge City Commission’s at-large voting scheme

violates Section 2 of the VRA because it dilutes the voting power of the Latino/a/e voting

population in Dodge City and prevents them from electing their representatives of choice. “Th[e
        Case 6:22-cv-01274-EFM Document 183 Filed 02/20/24 Page 2 of 22




Supreme] Court has long recognized that multimember districts and at-large voting schemes may

“operate to minimize or cancel out the voting strength of racial [minorities in] the voting

population.” Thornburg v. Gingles, 478 U.S. 30, 47 (1986) (internal quotation marks omitted).

“In Thornburg v. Gingles, the Supreme Court established the framework for assessing at-large

voting systems under Section 2.” Holloway v. City of Va. Beach, 42 F.4th 266, 270 (4th Cir. 2022)

(citing Gingles, 478 U.S. at 38-51). The Gingles preconditions set out three threshold requirements

Plaintiffs must meet to demonstrate that an at-large voting system unlawfully dilutes the minority

group’s vote and prevents them from electing candidates of choice.

       The Court then must assess whether, under the totality of the circumstances, members of

the minority group have less opportunity to participate in the electoral process and elect candidates

of their choice. 52 U.S.C. § 10301(b). The Supreme Court has directed that the list of non-

exhaustive factors in the Senate Report on the 1982 amendments to the VRA (“Senate Factors”)

be considered for the totality of the circumstances analysis. Gingles, 478 U.S. at 35-37.

       A.      Gingles I

       The first Gingles precondition states that “the minority group must be able to demonstrate

that it is sufficiently large and geographically compact to constitute a majority in a single-member

district.” Gingles, 478 U.S. at 50. As such, to establish the first Gingles precondition, Plaintiffs

must demonstrate that the Latine population in Dodge City is large and geographically compact

enough to constitute a numerical majority in at least one district in a single-member district map

for the Dodge City Commission. See Fusilier v. Landry, 963 F.3d 447, 455 (5th Cir. 2020) (“Under

Gingles, plaintiffs challenging an at-large system on behalf of a protected class of citizens must

demonstrate that (1) the group is sufficiently large and geographically compact to constitute a

majority in a single-member district …”) (internal quotation marks omitted); Holloway, 42 F.4th



                                                 2
        Case 6:22-cv-01274-EFM Document 183 Filed 02/20/24 Page 3 of 22




at 270 (similar); Ruiz v. City of Santa Maria, 160 F.3d 543, 550 (9th Cir. 1998) (similar); Davis v.

Chiles, 139 F.3d 1414, 1419 (11th Cir. 1998) (similar); Large v. Fremont Cnty., Wyo., 709 F. Supp.

2d 1176, 1190 (D. Wyo. 2010); Gingles, 478 U.S. at 50.

       With respect to numerosity, courts apply a bright-line 50% plus one rule in determining

whether the minority is “sufficiently large” for purposes of the first Gingles precondition. See

Bartlett v. Strickland, 556 U.S. 1, 12 (2009) (plurality opinion). With respect to compactness,

“[t]he first Gingles condition refers to the compactness of the minority population, not to the

compactness of the contested district.” League of United Latin Am. Citizens v. Perry (“LULAC”),

548 U.S. 399, 428 (2006). “While no precise rule has emerged governing § 2 compactness, the

inquiry should take into account traditional districting principles such as maintaining communities

of interest and traditional boundaries.” Id. at 433 (internal quotation marks omitted); see also Allen

v. Milligan, 599 U.S. 1, 18 (2023) (“A district will be reasonably configured, our cases explain, if

it comports with traditional districting criteria, such as being contiguous and reasonably

compact.”). One of those traditional districting criteria is the constitutional requirement to maintain

equal population, id. at 20; “[a] maximum population deviation between voting districts of less

than ten percent is presumptively constitutional,” McCoy v. Chicago Heights Elec. Comm’n, 880

F.3d 411, 415 (7th Cir. 2018). And as the Supreme Court recently explained, Section 2’s “question

whether additional majority-minority districts can be drawn, after all, involves a quintessentially

race-conscious calculus,” which allows a mapdrawer to “take race into account” as one, non-

predominant factor when drawing maps in compliance with federal law. Allen, 599 U.S. at 30-31

(internal quotation marks omitted) (emphasis in original).

       In Section 2 vote dilution litigation such as this case, illustrative maps offered by plaintiffs

are used to assess whether the jurisdiction has committed a violation of Section 2 only; that is, to



                                                  3
          Case 6:22-cv-01274-EFM Document 183 Filed 02/20/24 Page 4 of 22




help the Court establish that it is possible for the jurisdiction in question to draw a map that contains

a district where the minority group is large and geographically compact enough to constitute a

majority. See Sanchez v. State of Colo., 97 F.3d 1303, 1311 (10th Cir. 1996) (“[P]laintiffs’

proposed district is not cast in stone. It was simply presented to demonstrate that a majority-black

district is feasible….”) (quoting Clark v. Calhoun Cnty., Miss., 21 F.3d 92, 95 (5th Cir. 1994)). To

that end, plaintiffs at the trial stage need not establish that the illustrative maps are the exact proper

remedy; “at this stage, a plaintiff need only show that a remedy may be feasibly developed.” Luna

v. Cnty. of Kern, 291 F. Supp. 3d 1088, 1106 (E.D. Cal. 2018); see also id. (“neither the plaintiff

nor the court is bound by the precise lines drawn in these illustrative redistricting maps.”). As one

federal court explained:

         every Section 2 case may be divided into two phases: a liability phase, where the Court
         determines whether the challenged electoral device dilutes minority voting power, and a
         remedy phase, where the challenged jurisdiction remedies the dilution. Under this scheme,
         the ultimate viability and effectiveness of a remedy is considered at the remedial stage of
         litigation and not during analysis of the Gingles preconditions.

Rodriguez v. Harris Cnty., Tex., 964 F. Supp. 2d 686, 745 (S.D. Tex. 2013). 1

         Put simply, “[t]he ultimate end of the first Gingles precondition is to prove that a solution

is possible, and not necessarily to present the final solution to the problem.” Bone Shirt v.

Hazeltine, 461 F.3d 1011, 1019 (8th Cir. 2006) (internal quotation marks and alterations omitted);

see also Hall v. Louisiana, 108 F. Supp. 3d 419, 429 n.7 (M.D. La. 2015) (acknowledging

distinction “between an illustrative plan used to establish the first Gingles precondition, versus a

redistricting plan submitted as a proposed remedy after a Section 2 violation has been found.”).




1
 “If a § 2 violation is found, the [jurisdiction] will be given the first opportunity to develop a remedial plan.”
Sanchez, 97 F.3d at 1311 (quoting Clark, 21 F.3d at 95).

                                                            4
        Case 6:22-cv-01274-EFM Document 183 Filed 02/20/24 Page 5 of 22




        At trial, Plaintiffs will present testimony from expert map drawer Dr. Kassra A.R. Oskooii,

who will demonstrate that he drew 14 demonstrative maps for the Dodge City Commission, and

that in all those maps, the Latine population was large and compact enough to constitute a

numerical majority in three districts in each map. This evidence is more than sufficient to show

that it is possible to draw a map for the Commission that contains a single majority-Latine district.

        B. Gingles II and III

        The second and third Gingles preconditions, together referred to as racially polarized

voting, asks whether (1) “the minority group is politically cohesive” (Gingles II), and (2) “the

white majority votes sufficiently as a bloc to enable it … usually to defeat the minority’s preferred

candidate,” (Gingles III). Sanchez, 97 F. 3d at 1310; Gingles, 478 U.S. at 53 n.21.

        Under Section 2, racial polarization exists when members of a protected class vote together

for the same candidates or electoral outcomes, and the white majority usually votes against those

candidates and/or outcomes. See Sanchez, 97 F.3d at 1312 (stating that courts evaluate political

cohesiveness by looking at the “voting preferences expressed in actual elections.”); Sanchez v.

Bond, 875 F.2d 1488, 1493 (10th Cir. 1989). There is no requirement that Plaintiffs demonstrate

that white voters are hostile or hold racist views towards minority-preferred candidates to

demonstrate racially polarized voting. See Gingles, 478 U.S. at 70–71; Jenkins v. Red Clay Consol.

Sch. Dist. Bd. of Educ., 4 F.3d 1103, 1123 (3d Cir. 1993). Indeed, the standard “looks only to the

difference between how majority votes and minority votes were cast; it does not ask why those

votes were cast the way they were nor whether there are other factors present in contested

elections.” Collins v. City of Norfolk, Va., 816 F.2d 932, 935 (4th Cir. 1987); see also, e.g., Gingles,

478 U.S. at 51, 61-62; Sanchez, 97 F. 1303 at 1321; Gomez v. City of Watsonville, 863 F.2d 1407,




                                                   5
        Case 6:22-cv-01274-EFM Document 183 Filed 02/20/24 Page 6 of 22




1416 (9th Cir. 1988). Additionally, Gingles III has “no simple doctrinal test” and can “vary

according to a variety of factual circumstances.” See Gingles, 478 U.S. at 50-51.

       In the Tenth Circuit, a showing of racially polarized voting does not require completely

divergent racial preferences. See Sanchez, 97 F.3d at 1319. Demonstrating political cohesiveness

typically requires statistical and non-statistical evaluation of relevant elections. See Bone Shirt,

461 F.3d at 1020; see also Luna, 291 F. Supp. 3d at 1117.

       When analyzing the statistical evidence put on by Plaintiffs to demonstrate political

cohesion, courts have relied on point estimates—especially where, as here, the point estimates are

consistent across elections. “[P]oint estimates [] are undisputedly the best estimates in the data for

determining racially polarized voting.” Benavidez v. Irving Indep. Sch. Dist., No. 3:13-CV–0087-

D, 2014 WL 4055366, at *12 (N.D. Tex. Aug. 15, 2014) (internal quotation marks omitted);

Fabela v. City of Farmers Branch, Tex., No. 3:10-CV-1425-D, 2012 WL 3135545, at *10 (N.D.

Tex. Aug. 2, 2012) (same). Indeed, as a federal court recently found, “point estimates are the most

likely outcomes,” especially when “similar results repeat[] year after year,” and therefore it is not

necessary to “rely on confidence intervals where voting patterns were consistent.” NAACP, Spring

Valley Branch v. East Ramapo Cent. Sch. Dist., 462 F. Supp. 3d 368, 390 (S.D.N.Y. 2020); see

also Alpha Phi Alpha Fraternity Inc. v. Raffensperger, 587 F. Supp. 3d 1222, 1309 (N.D. Ga.

2022) (crediting racially polarized voting expert who conducted ecological regression and Kings

ecological inference as reliable and qualified despite not using confidence intervals with her

analysis); ECF No. 158 at 9 & n.23.

       Courts may analyze any elections it sees fit when evaluating Gingles II and III. However,

some elections have more probative value than others, such as contested elections and endogenous

elections. See Missouri State Conf. of the NAACP v. Ferguson-Florissant Sch. Dist., 201 F. Supp.



                                                  6
        Case 6:22-cv-01274-EFM Document 183 Filed 02/20/24 Page 7 of 22




3d 1006, 1040 (E.D. Mo. 2016), aff’d, 894 F.3d 924 (8th Cir. 2018). Endogenous elections are

elections in the jurisdiction at issue, while exogenous elections are elections in different

jurisdictions where the electorate also votes. The Tenth Circuit has held that “Gingles doesn’t

require perfect uniformity of result. That plaintiffs’ figures presented a pattern of racial bloc voting

over time is probative of Gingles’ second and third preconditions.” Sanchez, 97 F.3d at 1317; see

also Cuthair v. Montezuma-Cortez, Colorado Sch. Dist. No. RE-1, 7 F. Supp. 2d 1152, 1167 (D.

Colo. 1998) (“[racially polarized voting and bloc voting] is determined on a sliding scale. It varies

based on the district and a variety of other circumstances.”).

        Under Section 2, Plaintiffs may also demonstrate vote dilution based on evidence of

racially polarized voting drawn from exogenous, not endogenous elections. See Dillard v. Baldwin

Cnty. Bd. of Educ., 686 F. Supp. 1459, 1465 (M.D. Ala. 1988) (finding that Plaintiffs established

political cohesion through analyzing two exogenous county-wide elections and lay testimony

revealing a strong sense of community among Black voters); Westwego Citizens for Better Gov’t

v. City of Westwego, 872 F.2d 1201, 1208 (5th Cir. 1989) (“To the extent that these comments

indicate that the district court believed that plaintiffs could not, as a matter of law, make out a vote

dilution claim based on evidence of racially polarized voting drawn from elections other than the

aldermanic elections themselves, this view is incorrect under both Gingles and Citizens for a

Better Gretna.”); Cane v. Worcester Cnty., Md., 840 F. Supp. 1081, 1088 (D. Md. 1994). In

Gingles, the Court expressly advocated for flexibility when there may be sparse or incomplete data

for determining whether polarized voting exists. Gingles, 478 U.S. at 57 n.25 (“The number of

elections that must be studied in order to determine whether voting is polarized will vary according

to pertinent circumstances.”); see also Cane, 840 F. Supp. at 1088 (relying on exogenous elections




                                                   7
        Case 6:22-cv-01274-EFM Document 183 Filed 02/20/24 Page 8 of 22




and testimony that changes from at-large to single member system mitigates discouragement of

the minority community to elect candidates of choice satisfied Gingles II.).

       Moreover, there is also no set number of elections necessary to determine that Gingles II

and III are satisfied. See Bone Shirt, 461 F.3d at 1021 (finding evidence of polarization in two

endogenous elections enough to support a finding of Gingles II and III for plaintiffs). The size of

a jurisdiction or the number of voting precincts evaluated also does not hinder a finding of political

cohesion; polarized voting has been found in comparably-sized or smaller jurisdictions than Dodge

City. See U.S. v. Blaine Cnty., Montana, 897, 910 (9th Cir. 2004) (affirming a finding of a Section

2 violation in a jurisdiction of 7,009, almost four times less populous than Dodge City); Cuthair,

7 F. Supp. 2d at 1154 (finding a Section 2 violation in a jurisdiction with under 19,000 residents

when the suit was filed and finding racially polarized voting in at-large elections where about 600

total votes were cast); Cane v. Worcester Cnty, Md., 35 F.3d 921, 923 (4th Cir. 1994) (finding a

Section 2 violation in a county of about 35,000); Potter v. Washington Cnty., Fla., 653 F. Supp.

121, 122 (N.D. Fla. 1986) (approving a consent decree finding Section 2 effects liability for a

jurisdiction that is has a total population of 14,509); Windy Boy v. Big Horn Cnty., 647 F. Supp.

1002, 1004 (D. Mont. 1986) (finding a Section 2 violation in a county of 11,096).

       Additionally, the “legal concept of racially polarized voting incorporates neither causation

nor intent.” Gingles, 478 U.S. at 63. Rather, courts look simply at whether the race of voters alone

correlates with the selection of certain candidates or electoral decisions. “The reasons [Latino] and

white voters vote differently have no relevance to the central inquiry of § 2.” Id. at 63 (emphasis

added); see also id. at 100 (O’Connor, J., concurring) (agreeing, along with three other justices,

that where statistical evidence shows minority political cohesion and assesses prospects of

winning, “defendants cannot rebut this showing by offering evidence that the divergent racial



                                                  8
        Case 6:22-cv-01274-EFM Document 183 Filed 02/20/24 Page 9 of 22




voting patterns may be explained in part by causes other than race”); Gomez v. City of Watsonville,

863 F.2d at 1416 (holding that courts should look “only to actual voting patterns” to determine

whether voting is racially polarized and not speculate as to the reasons why); Collins v. City of

Norfolk, Va., 816 F.2d at 935. Ultimately, in assessing Gingles II and III, the Tenth Circuit has

concluded that Gingles “instructs us to look for the theme of racial polarization and the extent

which that polarization robs the minority of meaningful access to the political process.” Sanchez,

97 F.3d at 1321.

       Plaintiffs will demonstrate here through statistical and non-statistical evidence that in both

endogenous and exogenous elections Latine voters in the City of Dodge City are politically

cohesive. Plaintiffs rely chiefly on the expert testimony of Dr. Matt Barreto, who conducted a

statistical analysis using ecological inference, which this Court has already found “enjoys a wide

acceptance from courts dealing with vote dilution cases.” ECF No. 158 at 8 & n.20 (citing cases).

Plaintiffs, again aided by Dr. Barreto’s analysis, will further show that in elections for Dodge City

Commission and other elections analyzed white voters in the City of Dodge City vote as a bloc,

and usually defeat Latine preferred candidates.

       C. Senate Factors and the Totality of the Circumstances

       Once a court finds all three Gingles preconditions are met, it must determine whether “the

totality of the circumstances reveal that the [minority group’s] members … have less opportunity

than other members of the electorate to participate in the political process and to elect

representatives of their choice.” Gingles, 478 U.S. at 43 (internal quotations omitted). This inquiry

“depends upon a searching practical evaluation of the past and present reality, and on a functional

view of the political process. The lack of electoral opportunity is the key.” Sanchez, 97 F.3d at

1310 (internal quotations omitted). It is “only the very unusual case in which the plaintiffs can



                                                  9
        Case 6:22-cv-01274-EFM Document 183 Filed 02/20/24 Page 10 of 22




establish the existence of the three Gingles factors but still have failed to establish a violation of §

2 under the totality of circumstances.” Clark v. Calhoun Cnty., Miss., 21 F.3d at 97; Wright v.

Sumter Cnty. Bd. Of Elections and Registration, 979 F.3d 1282, 1304; NAACP, Inc. v. City of

Niagara Falls, N.Y., 65 F.3d 1002, 1019 n.21 (2nd Cir. 1995) (internal quotation marks omitted).

        The totality of the circumstances analysis is led by the Senate Factors. “[T]here is no

requirement that any particular number of [Senate Factors] be proved, or that a majority of them

point one way or the other.” Sanchez, 97 F.3d at 1310; see also Cuthair, F. Supp. 2d at 1171

(finding a Section 2 violation where Plaintiffs demonstrated SF 1 and 5, while “other [Senate

Factors] show that efforts have been made to improve the situation of the [minority community].”).

Nor are the factors exclusive, as courts can consider other factors relevant to determining the

openness of the political process. Sanchez, 97 F.3d at 1310. Plaintiffs briefly discuss these nine

factors in order.

        Senate Factor 1: Senate Factor 1 looks at “the extent of any history of official

discrimination in the state or political subdivision that touched the right of the members of the

minority group to … to participate in the democratic process.” Gingles, 478 U.S. at 36-37. In the

Tenth Circuit, courts may analyze the entire history of the minority group’s existence within the

region when determining whether there is a history of discrimination. See Cuthair, 7 F. Supp at

1169 (finding SF 1 existed after analyzing 150 years of Native American history in the region and

Colorado). In evaluating this factor, courts may rely not just on evidence from the jurisdiction

itself, but also on “statewide data or expert testimony applying general data to the [jurisdiction].”

Mo. NAACP, 894 F.3d at 940; see also Blaine, 363 F.3d at 913 (finding that requiring that courts

look only at the jurisdiction would be an “overly narrow interpretation of the first Senate factor”).

Additionally, evidence of past voting rights lawsuits demonstrates a history of official



                                                  10
       Case 6:22-cv-01274-EFM Document 183 Filed 02/20/24 Page 11 of 22




discrimination. See Soto Palmer v. Hobbs, No. 3:22-CV-05035-RSL, 2023 WL 5125390, at *7

(W.D. Wash. Aug. 10, 2023). Plaintiffs will submit evidence of prior acts of voter suppression,

including some that resulted in lawsuits, in Ford Couty and Kansas. Plaintiffs’ expert Dr. Ruben

Martinez will demonstrate that Dodge City, southwest Kansas, and the broader state of Kansas

have had a long and continuing history of official discrimination against Latines in voting and

political participation, in addition to employment, housing, and general segregation, satisfying

Senate Factor One.

       Senate Factor 2: Senate Factor 2 evaluates “the extent to which voting in the elections of

the state or political subdivision is racially polarized.” Gingles, 478 U.S. at 37. As noted supra,

Plaintiffs will demonstrate at trial that there is significant racial polarization in Dodge City.

       Senate Factor 3: Senate Factor 3 analyses the extent to which “the state or political

subdivision has used … voting practices or procedures that may enhance the opportunity for

discrimination against the minority group.” Gingles, 478 U.S. at 37. Examples of voting practices

that enhance discrimination are at-large elections, majority vote requirements, staggered terms of

office which weaken the effect of single-shot voting and holding elections in non-presidential

years. See Large, 709 F. Supp 2d at 1216-17; Luna, 291 F. Supp. 3d at 1136; Soto Palmer v. Hobbs,

NO. 3:22-cv-05035-RSL, 2023 WL 5125390 at *7-8 (W.D. Wash. 2023). For purposes of

satisfying Senate Factor 3, these voting practices or procedures need not be “the but-for cause of

a minority candidate's electoral defeat.” Luna, 291 F. Supp. 3d at 1136.

       Plaintiffs’ expert Dr. Christina Bejarano will testify that Dodge City employs three major

voting practices and procedures that enhance the opportunity for discrimination against Latines:

at-large election systems, staggered term election and differential length of terms for

commissioners, and off-cycle timing for elections. Congress and the Supreme Court have



                                                  11
       Case 6:22-cv-01274-EFM Document 183 Filed 02/20/24 Page 12 of 22




recognized that “among the most common [election schemes which enhance vote dilution] are at-

large elections . . .” Id; Rogers v. Lodge, 458 U.S. 613, 616 (1982) (“At-large voting schemes and

multimember districts tend to minimize the voting strength of minority groups by permitting the

political majority to elect all representatives of the district.”). The Dodge City Commission

structure, wherein the winning candidate with the least number of votes gets a two-year term as

opposed to a four-year term, can also compound the dilutive effect of the at-large system because

of the difficulty of Latino-preferred candidates to get white support.

       Additionally, Dodge City local elections are held off cycle, meaning they are held in odd-

numbered, non-presidential years. “Off-cycle elections also enhance the opportunity for

discrimination in two primary ways”—because minority groups have a larger dropoff in turnout

from presidential to off-cycle elections as compared to whites, and because they “increase the

relative influence of well-organized interest groups in maintaining the status quo.” Mo. NAACP,

201 F. Supp. 3d at 1079-80, aff’d 894 F.3d 924; see also, e.g., Ketchum v. Byrne, 740 F.2d 1398,

1404 n.5 (7th Cir. 1984); NAACP, Spring Valley Branch, 462 F. Supp. 3d at 409.

       The touchstone for the third Senate factor is identifying “voting procedures that may

operate to lessen the opportunity of [the minority group] to elect candidates of their choice.”

Gingles, 478 U.S. at 39. Under the Section 2 results standard—which “repudiated” the “intent test”

in vote dilution cases like this one, id. at 44—Plaintiffs are under no obligation to show that the

city has intentionally maintained these voting procedures for a discriminatory purpose, or even

that the city has the legal authority to change those voting procedures or practices.

       Senate Factor 4: Senate Factor evaluates “if there is a candidate slating process, whether

the members of the minority group have been denied access to that process.” Gingles, 478 U.S. at




                                                 12
       Case 6:22-cv-01274-EFM Document 183 Filed 02/20/24 Page 13 of 22




37. At trial, Plaintiffs will put forth fact and expert testimony demonstrating that there is formal

and informal Commission candidate slating that dilutes the vote of the Latine community.

       Senate Factor 5: Senate Factor 5 looks at “the extent to which members of the minority

group in the state or political subdivision bear the effects of discrimination in such areas as

education, employment and health, which hinder their ability to participate effectively in the

political process.” Id. “[P]olitical participation by minorities tends to be depressed where minority

group members suffer effects of prior discrimination such as inferior education, poor employment

opportunities, and low incomes.” Id. at 69; White v. Regester, 412 U.S. 755, 768–69 (1977); see

also See United States v. Marengo Cnty. Comm’n, 731 F.2d 1546, 1567 n.36 (11th Cir. 1984)

(“[D]iscrimination can contribute to the inability of [the minority group] to assert their political

influence and to participate equally in public life”).

       “Plaintiffs are not required to prove a causal connection between [the effects of

discrimination] and a depressed level of political participation.” Teague v. Attala Cnty., Miss., 92

F.3d 283, 294 (5th Cir. 1996); Whitfield v. Democratic Party of State of Ark., 890 F.2d 1423, 1430–

31 (8th Cir. 1989) (similar); S. Rep. No. 97-417, at 29 n.144 (1982) (similar). “Rather, the burden

is on those who deny the causal nexus to show that the cause is something else.” Bone Shirt v.

Hazeltine, 336 F. Supp. 2d 976, 1038 (D.S.D. 2004); Marengo Cnty. Comm’n, 731 F.2d at 1569

(“when there is clear evidence of present socioeconomic or political disadvantage … the burden is

not on the plaintiffs to prove that this disadvantage is causing reduced political participation”);

Wright, 979 F.3d at 1294. Indeed, where plaintiffs have established socioeconomic disparities,

courts have been skeptical of blaming depressed voter turnout on the supposed apathy of minority

voters. See, e.g., Marengo Cnty. Comm’n, 731 F.2d at 1568–69 (“[b]oth Congress and the courts




                                                  13
       Case 6:22-cv-01274-EFM Document 183 Filed 02/20/24 Page 14 of 22




have rejected efforts to blame reduced black participation on ‘apathy’”); Teague, 92 F.3d at 294–

95; Whitfield, 890 F.2d at 1431–32; Gomez, 863 F.2d at 1416.

       Courts have found that indicators such as racial and ethnic disparities in home ownership;

poverty; voting/registration; education; unemployment rates; per capita income; and many others

support a finding that Senate Factor 5 is met. See Cuthair, 7 F. Supp. 2d at 1169–70; Wright, 979

F.3d at 1294–95; Blaine, 363 F.3d at 914; Bone Shirt, 336 F. Supp. 2d at 1037-38; United States

v. Berks Cnty., Pa., 277 F. Supp. 2d 570, 580–81 (E.D. Pa. 2003); Jeffers v. Clinton, 730 F. Supp.

196, 211 (E.D. Ark. 1989), aff'd, 498 U.S. 1019 (1991); Mo. NAACP, 201 F. Supp. 3d at 1069-73,

aff'd, 894 F.3d 924 (8th Cir. 2018); United States v. Vill. of Port Chester, 704 F. Supp. 2d 411,

435-36, 445 (S.D.N.Y. 2010). Courts consider all inequalities and accord more weight to the

plaintiff’s position when there is a multitude of disparities. See Wright, 979 F.3d at 1294–95.

       Dr. Bejarano’s testimony will show that, as compared to white residents, Hispanics in

Dodge City face a wide array of stark socioeconomic disparities in income and poverty, education,

health, and housing, and that Kansas’ Latine population has lower rates of political participation.

Dr. Martinez’s testimony will contextualize the stark socioeconomic disparities by explaining the

history of discrimination against Hispanics in Dodge City in areas such as housing, education, and

public spaces.

       Senate Factor 6: Senate Factor 6 evaluates “whether political campaigns have been

characterized by overt or subtle racial appeals.” Gingles, 478 U.S. at 37. Courts have found the

existence of this factor based on just a handful of salient incidents. See generally United States v.

Alamosa Cnty., 306 F. Supp. 2d 1016, 1025-26 (D. Colo. 2004) (finding racial appeals based on

three elections where candidates identified own ethnicity); Jeffers, 730 F. Supp. at 212 (“simply

informing the voters that one’s opponent is black seems to be enough to do the trick”). Courts



                                                 14
       Case 6:22-cv-01274-EFM Document 183 Filed 02/20/24 Page 15 of 22




evaluating this factor will consider the effect of a particular statement on the minority community,

including if the statement stokes fear and or anger, to determine whether these statements of racial

appeals. See Soto Palmer, No. 3:22-CV-05035-RSL, 2023 WL 5125390, at *9 (W.D. Wash. Aug.

10, 2023) (finding statements regarding non-citizens and immigration said by candidates within

the political jurisdiction and region are racial appeals in a region with a large Latino community.).

At trial, Plaintiffs will demonstrate evidence of racial appeals in Dodge City.

       Senate Factor 7: The seventh Senate Factor concerns “the extent to which members of the

minority group have been elected to public office in the jurisdiction.” Gingles, 478 U.S. at 37.

“The core question posed in Factor 7 is whether [minority] candidates have historically been

successful in the [jurisdiction], not whether individual [minority] candidates were more attractive

candidates or could have run better campaigns.” Mo. NAACP, 894 F.3d at 939. Courts consider

both whether minority candidates have been elected and whether minority residents can elect their

preferred candidates. Clerveaux v. E. Ramapo Cent. School Dist., 984 F.3d 213, 241 (2d Cir. 2021).

“[P]roof that some minority candidates have been elected does not foreclose a § 2 claim” or

satisfaction of Senate Factor 7, Gingles, 478 U.S. at 75—especially if those elected are

“unresponsive to the needs of [the minority group’s] constituents, NAACP, Spring Valley Branch,

462 F. Supp. 3d at 409; see also Gingles, 478 U.S. at 75; Clerveaux, 984 F.3d at 241.

       Evidence that minority candidates are less likely to run for office can also weigh in favor

of Senate Factor 7. See Blaine, 363 F.3d at 914 (Senate Factor 7 supported Plaintiffs as there was

a qualified pool of minority candidates who were unwilling to run for office because white bloc

voting made it difficult to succeed). Additionally, “evidence of [minorities] working as

[government] employees is neither relevant nor probative” and “has no bearing on whether

[election schemes] dilutes [minority] voting strength.” Bone Shirt, 336 F. Supp. 2d at 1043; see



                                                 15
        Case 6:22-cv-01274-EFM Document 183 Filed 02/20/24 Page 16 of 22




City of Carrollton Branch of the N.A.A.C.P. v. Stallings, 829 F.2d 1547, 1560 (11th Cir. 1987)

(finding appointments of minorities to various county boards did “not demonstrate the ability of

[minorities] to get elected to political office . . .”).

        Courts assessing Senate Factor 7 look also to the rates of election of the minority population

to other offices across the state. See, e.g., Little Rock Sch. Dist. v. Pulaski Cnty. Special Sch. Dist.

No. 1, 56 F.3d 904 (8th Cir. 1995) (evaluating exogenous elections in assessment of Senate Factor

7); NAACP v. Fordice, 252 F.3d 361, 370 (5th Cir. 2001) (holding district court was correct in

considering exogenous elections when evaluating Senate Factor 7). At trial, Plaintiffs will

demonstrate that Hispanics are, and have been for decades, starkly underrepresented on the Dodge

City Commission and in elected offices across municipal, county, state, and federal governments.

        Senate Factor 8: Senate Factor 8 evaluates “whether there is a significant lack of

responsiveness on the part of elected officials to the particularized needs of the members of the

minority group.” Gingles, 478 U.S. at 37. “A lack of responsiveness is ‘evidence that minorities

have insufficient political influence to ensure that their desires are considered by those in power.’”

Alpha Phi Alpha Fraternity Inc. v. Raffensperger, 2023 WL 7037537, at *131 (N.D. Ga. Oct. 26,

2023) (quoting Marengo Cnty. Comm’n, 731 F.2d at 1572); see also Bone Shirt, 336 F. Supp. 2d

at 1043 (unresponsiveness exists where governing bodies “need not be accountable to minority

interests.”). When elected officials are “largely unaware” of the particularized issues of the

minority community, there is generally a lack of responsiveness. See Large, 709 F. Supp. 2d at

1226(finding an at-large election scheme violated § 2). “[R]esponsiveness, like many things, is a

question of both kind and degree.” Sanchez, 97 F.3d at 1325 (internal citation omitted). Plaintiffs

need not demonstrate the steps officials should take to increase responsiveness to establish Senate

Factor 8. Stallings, 829 F.2d at 1561.



                                                     16
       Case 6:22-cv-01274-EFM Document 183 Filed 02/20/24 Page 17 of 22




       Government programs and expenditures that broadly benefit both the minority and majority

communities are not probative of responsiveness to the specific concerns of the minority

community. Bone Shirt, 336 F. Supp. 2d at 1047 (“Much of the testimony . . . relates to measures

that broadly affect both Indians and non-Indians. As a result, this evidence is less probative of

responsiveness to specific Indian concerns.”); Blaine, 363 F.3d at 914 (rejecting argument that

Senate Factor 8 is not met because at-large elections make elected officials responsive to all voters

throughout the jurisdiction).

       Expert and fact testimony at trial will show that elected officials in Dodge City have shown

a lack of responsiveness to the particularized needs of the Hispanic community with respect to

voter access, health, discrimination, and immigration enforcement, among other areas. Testimony

will also establish that Dodge City’s government functions principally to serve the white residents,

while the needs of the Hispanic community in south Dodge are often left unmet.

       Senate Factor 9: Senate Factor 9 addresses “whether the policy underlying the state or

political subdivision's use of such voting qualification, prerequisite to voting, or standard, practice

or procedure is tenuous.” Gingles, 478 U.S. at 37 (internal quotation marks omitted). While

Plaintiffs do not need to establish discriminatory intent under the results test, “the tenuousness of

the justification for a state policy may indicate that the policy is unfair”; that is, that “the device

has a discriminatory result.” Marengo Cnty. Comm’n, 731 F.2d at 1571. Additionally, the

tenuousness inquiry is also beneficial insofar as it has “the propensity to show whether a state's

policy was pretextual.” Cousin v. McWherter, 46 F.3d 568, 576 (6th Cir. 1995). Given that

Plaintiffs will demonstrate at trial that the at-large system has discriminatory results and is

maintained with discriminatory intent, this evidence is more than sufficient to satisfy the lower bar

to establish tenuousness.



                                                  17
        Case 6:22-cv-01274-EFM Document 183 Filed 02/20/24 Page 18 of 22




        Proportionality: While it is not dispositive, “proportionality is a relevant fact in the totality

of circumstances” analysis. LULAC v. Perry, 548 U.S. at 436 (internal quotation marks omitted).

“‘Proportionality’ as the term is used here links the number of majority-minority voting districts

to minority members' share of the relevant population.” Johnson v. De Grandy, 512 U.S. 997, 1014

n.11 (1994). Here, the proportionality analysis involves “comparing the percentage of total districts

that are Latino opportunity districts with the Latino share of the citizen voting-age population.”

LULAC, 548 U.S. at 436 (evaluating proportionality in that case by using CVAP). Dodge City has

a 46% Hispanic citizen voting-age population (“HCVAP”), and yet in the current system, there are

no districts—at-large or single-member—that are majority-HCVAP. By contrast, Plaintiffs will

demonstrate that it is possible for Dodge City to comply with the Supreme Court’s directive of

“rough proportionality,” id. at 438 (quoting De Grandy, 512 U.S. at 1023), by adopting a single-

member district system.

III.    Equal Protection Clause of the Fourteenth Amendment—Discriminatory Intent

        To prevail on their claim of intentional discrimination in violation of the Fourteenth

Amendment, Plaintiffs must show that race was a “motivating factor” in maintaining the at-large

election system for the Dodge City Commission. Vill. of Arlington Heights v. Metro. Hous. Dev.

Corp., 429 U.S. 252, 265–66 (1977). An electoral device, such as an at-large voting scheme, that

is “maintained for invidious purposes” violates the Fourteenth Amendment, even where such

device was “racially neutral when adopted.” Rogers, 458 U.S. at 616–17 (internal citations

omitted). Plaintiffs are not required to produce a smoking gun or to prove that racial considerations

predominated over all other considerations in Dodge City’s operation of the dilutive at-large

method of election. Vill. of Arlington Heights, 429 U.S. at 265. Rather, “‘[d]iscriminatory purpose”

. . . implies that the decisionmaker . . . selected or reaffirmed a particular course of action at least



                                                   18
       Case 6:22-cv-01274-EFM Document 183 Filed 02/20/24 Page 19 of 22




in part “because of,” not merely “in spite of,” its adverse effects on an identifiable group.’” Navajo

Nation v. State of New Mexico, 975 F.2d 741, 743–44 (10th Cir. 1992) (citing Pers. Adm'r of Mass.

v. Feeney, 442 U.S. 256, 279 (1979)) (italicization in original).

       In Arlington Heights, the Supreme Court set forth several non-exhaustive factors that

constitute indirect evidence establishing a prima facie case of intentional discrimination: (1)

“impact,” i.e., whether the challenged activity “bears more heavily on one race than another,” (2)

“historical background of the decision,” (3) “the specific sequence of events leading up to the

challenged decision,” (4) “departures from the normal procedural sequence,” (5) “legislative or

administrative history[,]” (6) “foreseeability of discriminatory impact,” (7) “knowledge of

discriminatory impact,” and (8) “the availability of less discriminatory alternatives.” Jean v.

Nelson, 711 F.2d 1455, 1485–86 (11th Cir. 1983) (describing the Arlington Heights factors as

“some examples” of evidence for an intentional discrimination claim) (internal citations omitted);

see also Perkins v. City of W. Helena, Ark., 675 F.2d 201, 209–16 (8th Cir. 1982) (evaluating

Arlington Heights factors together with other evidence relevant to discriminatory intent).

       The evidence to be presented at trial will demonstrate through the Arlington Heights factors

that diminishing the voting influence of the Hispanic population by continued operation of a

dilutive at-large method of election contravenes the Fourteenth Amendment. As an initial matter,

the evidence at trial will show that Defendants have possessed knowledge of the discriminatory

impact of Dodge City’s at-large electoral system for over a decade, thereby establishing Arlington

Heights Factors 6 and 7. Moreover, Plaintiffs will establish that the discriminatory impact has only

grown more foreseeable, as the Hispanic population in Dodge City has increased substantially yet

Hispanic candidates of choice have continued to run for Commission unsuccessfully, and voting

in Dodge City Commission elections is consistently racially polarized.



                                                 19
       Case 6:22-cv-01274-EFM Document 183 Filed 02/20/24 Page 20 of 22




       Evidence will also demonstrate that years after first being on notice of the discriminatory

impact of the at-large scheme, the Dodge City Commission in 2019 summarily rejected a proposal

to adopt district-based elections, which is a readily available “less discriminatory alternative” to

at-large systems under Arlington Heights Factor 8. The Commission made this decision despite

legal research conducted by the League of Kansas Municipalities in 2019 suggesting that Dodge

City met the Gingles pre-conditions for vote dilution. To date – even after the filing of this lawsuit

by residents – Dodge City has never given due consideration to district-based elections, with

“unity” the only justification offered by officials. Such circumstances are probative of intentional

discrimination under Arlington Heights factors 2, 3, 4, and 5, which examine the context and

fairness of procedures surrounding the challenged decision.

       Additional evidence presented by Plaintiffs’ experts will provide further proof of

discriminatory intent. At trial, Plaintiffs’ expert will testify as to the discriminatory impact of at-

large election systems, which helps establish the first Arlington Heights factor. As further evidence

that Dodge City has maintained the at-large election system at least in part because of its adverse

effects on an identifiable group, Plaintiffs’ expert Dr. Martinez will testify that any disparate

impact was foreseeable given the historical implementation of at-large voting methods to suppress

the voting power of minorities and the working class. Lastly, Dr. Martinez will emphasize that

Dodge City’s continuous use of the at-large system must be analyzed as part of a larger historical

trend of discrimination against Hispanics and other racial minorities in Dodge City.

                                          CONCLUSION

       Plaintiffs respectfully assert that, under the prevailing legal standards described above, they

will present sufficient evidence to establish violations of Section 2 of the Voting Rights Act and

the Equal Protection Clause of the Fourteenth Amendment.



                                                  20
       Case 6:22-cv-01274-EFM Document 183 Filed 02/20/24 Page 21 of 22




Dated: February 20, 2024                   Respectfully submitted,



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                                      21
       Case 6:22-cv-01274-EFM Document 183 Filed 02/20/24 Page 22 of 22




                                CERTIFICATE OF SERVICE

       Pursuant to D. Kans. Loc. R. 5.1(f), I hereby certify that on this 20th day of February

2024, a true and correct copy of the foregoing was served via the United State District Court’s

CM/ECF system on all parties or persons requiring notice, including upon attorneys for

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